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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLORADO
                                  MAGISTRATE JUDGE PATRICIA A. COAN


  Civil Action No. 05-cv-01149-JLK-PAC

  MARK WALTON,

                           Plaintiff(s),

  v.

  THE UNITED STATES OF AMERICA,

                      Defendant(s).
  _______________________________________________________________________________________

                                      ORDER SETTING
                                SETTLEMENT CONFERENCE
  ________________________________________________________________________________________


          IT IS HEREBY ORDERED that the above entitled matter is scheduled for a settlement conference
  on January 19, 2006 at 1:30 p.m. 5th Floor, of the Alfred A. Arraj United States Courthouse, Denver. The
  plaintiff shall notify all parties who have not entered an appearance of the date and time of the
  Settlement Conference.

           FURTHER, IT IS ORDERED that counsel shall have parties present who are authorized to enter
  into a settlement agreement, including an adjustor if an insurance company is involved. This requirement
  is not fulfilled by the presence of counsel.

          In order that productive settlement discussions can be held, counsel shall submit two settlement
  documents: one to be mailed to the other party or parties, and the other to be electronically mailed only to
  the Magistrate Judge at Coan_Chambers@cod.uscourts.gov.              The settlement documents are to be
  submitted no later than five days before the settlement conference and shall contain confidential comments
  to the Magistrate Judge, any comments about perceived weaknesses in the case, and any comments which
  would be helpful to the Magistrate Judge in assisting the parties to reach a settlement, including authority
  from the client.

          Confidential Settlement statements with attachments totaling over 15 pages shall be submitted to
  the Clerk’
           s Office in an envelope labeled “Personal Materials”addressed to Magistrate Judge Patricia A.
  Coan.

          The documents which are presented to opposing counsel shall contain an overview of the case from
  the presenter’s point of view, shall summarize the evidence that supports that side’
                                                                                     s claims and shall present
  a demand or offer. These documents should be submitted for the purpose of persuading clients and counsel
  on the other side.

          In compliance with D.C.Colo. LCivR 83.2B all parties, counsel and witnesses shall have on their
  person appropriate identification when entering the courthouse.
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       DATED December 23, 2005 at Denver, Colorado.

                                          BY THE COURT:



                                          s/Patricia A. Coan
                                          PATRICIA A. COAN
                                          United States Magistrate Judge
